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                 EXHIBIT 13
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1                     UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                          SAN FRANCISCO DIVISION
4                                  ---oOo---
5
6    ALICIA HERNANDEZ, et al.,
     individually and on
7    behalf of all others
     similarly situated,
8
                       Plaintiffs,
9
     vs.                                          No. 3:18-cv-07354-WHA
10
     WELLS FARGO & COMPANY, and
11   WELLS FARGO BANK, N.A.,
12                     Defendants.
     ___________________________/
13
14
15
16           30(b)(6) VIDEOTAPED DEPOSITION OF CARMEN BELL
17                       SAN FRANCISCO, CALIFORNIA
18                        FRIDAY, AUGUST 2, 2019
19
20
21   Stenographically reported by:
22   ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR
23   California CSR No. 9830
24   Job No. 3476159
25   Pages 1- 266

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1    second error occurred prior to 2015?                                 10:18

2                 MS. KNIGHT:        Object to form.                      10:18

3                 THE WITNESS:        Yes.   And that's where it's        10:18

4    referenced April 2010 in the -- one, two, three --                   10:19

5    fourth bullet down, in which it states that we're                    10:19

6    going to go back to 2010 of April.                                   10:19

7                 MR. PAUL:     Q.     Did -- so let me go at it this     10:19

8    way:       Was there anything about the change of setting            10:19

9    the fee matrix to 0 in October of 2015 that caused or                10:19

10   contributed to the second error?                                     10:19

11                MS. KNIGHT:        Object to the form.                  10:19

12                THE WITNESS:        No.                                 10:19

13                MR. PAUL:     Okay.                                     10:19

14          Q     How would it come about where the -- the HPA            10:20

15   tool wouldn't be adding those two together, so that                  10:20

16   the second error could occur without the first error                 10:20

17   occurring?                                                           10:20

18                MS. KNIGHT:        Object to form.                      10:20

19                THE WITNESS:        Can you ask the question again,     10:20

20   please?                                                              10:20

21                MR. PAUL:     Sure.                                     10:20

22          Q     So what I'm trying to figure out is, before             10:20

23   that table is set to 0, if it -- if the HPA tool is                  10:20

24   pulling the fee matrix number in and adding it into                  10:20

25   whatever fees are there, how does the second error                   10:20

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1    occur, because that's not pulling in the fee matrix?              10:20

2             MS. KNIGHT:     Object to form.                          10:20

3             Go ahead.                                                10:20

4             THE WITNESS:     The HPA tool has various                10:20

5    investors and programs built into it.           Only in certain   10:20

6    circumstances, GSEs, Fannie and Freddie, and owned,               10:20

7    bank and private, HAMP treasury, had the calculation              10:21

8    error present.                                                    10:21

9             In the other instances within the HPA tool,              10:21

10   that automation was not built in.         And hence, we had a     10:21

11   different practice in which we would get the pending              10:21

12   quote from the attorney.       And that wasn't checked per        10:21

13   having a control in place.                                        10:21

14            MR. PAUL:     Okay.                                      10:21

15       Q    And so which -- which types of loans would               10:21

16   those be?                                                         10:21

17            Which government programs or non-GSE                     10:21

18   programs?                                                         10:21

19       A    Can you clarify, when you say "which type,"              10:21

20   are you -- what you're referring to?                              10:21

21       Q    The investor or insurer.                                 10:21

22       A    I'm sorry.     For the second error?                     10:21

23       Q    For the second error, yes.                               10:21

24       A    Thank you.                                               10:21

25            The second error would have been for GSE                 10:21

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1    repayment plans, as well as the SLOAD tool.              So now, a   10:22

2    different tool in which HUD loans were underwritten                  10:22

3    in.                                                                  10:22

4          Q   Okay.   Was there any time period where the                10:22

5    second error related to loans in which the HPA tool                  10:22

6    was used?                                                            10:22

7              MS. KNIGHT:        Object to form.                         10:22

8              THE WITNESS:        Can you ask the question again,        10:22

9    please?                                                              10:22

10             MR. PAUL:     I can.                                       10:22

11         Q   So the -- let me ask it this way:                          10:22

12   Post-October 2015, could the second error occur for                  10:22

13   loan modifications being reviewed using the HPA tool,                10:22

14   in addition to the SLOAD tool?                                       10:23

15             MS. KNIGHT:        Object to form.                         10:23

16             THE WITNESS:        Yes, for phase, the second             10:23

17   issue we're referring to, but not for where we                       10:23

18   corrected the matrix automated issue.                                10:23

19             MR. PAUL:     Q.     So let me -- let me just see          10:23

20   if I can boil this down here and keep this straight.                 10:23

21             The -- the first error is always the HPA                   10:23

22   tool, not the SLOAD tool?                                            10:23

23         A   That's accurate.                                           10:23

24         Q   And for the second error, it's always the                  10:23

25   SLOAD tool throughout the entire 2010 to 2018 time                   10:23

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1    period, and in some instances the HPA tool?                            10:23

2             MS. KNIGHT:        Object to form.                            10:23

3             THE WITNESS:        Yes.                                      10:23

4             MR. PAUL:     Q.     And the HPA tool would be                10:23

5    post-October 2015?                                                     10:23

6             MS. KNIGHT:        Object to form.                            10:23

7             THE WITNESS:        Yes, in those instances, where            10:24

8    the calculation error -- it wasn't the calculation                     10:24

9    error.                                                                 10:24

10            MR. PAUL:     Right.       Okay.                              10:24

11       Q    The overview third bullet point, May 1, 2018,                 10:24

12   to the present, based on the review and validation                     10:24

13   that has occurred to date, do you believe that the                     10:24

14   problem -- that both the first and second errors have                  10:24

15   been resolved or are no longer occurring                               10:24

16   post-April 31, 2018?                                                   10:24

17       A    I do, yes.                                                    10:24

18       Q    All right.                                                    10:24

19            So the population, you mentioned earlier that                 10:24

20   those numbers are not correct.              Let's just go through      10:24

21   each of those.                                                         10:24

22            What is the current number of impacted                        10:24

23   accounts for Phase 1, as you know it to be today?                      10:25

24       A    I don't know the -- the -- the breakout off                   10:25

25   the top of my mind by each of the phases.               I know the     10:25

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1    stating we estimated outstanding fees and costs, which        15:36

2    caused the loan to be denied."                                15:36

3              Do you know what that's a reference to?             15:36

4        A     We have went back and tried to research that,       15:36

5    and we have not been able to identify what that is.           15:36

6              (Document marked Exhibit 408                        15:37

7               for identification.)                               15:37

8              MR. PAUL:    All right.                             15:37

9        Q     Ma'am, I've handed you what we've marked as         15:37

10   Exhibit 408.                                                  15:37

11             Is this an e-mail that you've reviewed              15:37

12   before?                                                       15:37

13       A     I don't recall seeing this one, but it --           15:37

14   I -- but I can speak to it.                                   15:38

15       Q     Okay.    So the -- the date of the e-mail chain     15:38

16   here is November of 2015.      So that would be, for          15:38

17   context, after the fee matrix is set to 0; right?             15:38

18       A     That would be correct.                              15:38

19       Q     All right.                                          15:38

20             And then -- well, in fact, that's what it           15:38

21   says:                                                         15:38

22             "HPA attorney fee matrix was turned off             15:38

23   October 2, 2015."                                             15:38

24             Right?                                              15:38

25       A     Yes.                                                15:38

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1                      CERTIFICATE OF REPORTER
2                I, ANDREA M. IGNACIO, hereby certify that the
3     witness in the foregoing deposition was by me duly
4     sworn to tell the truth, the whole truth, and nothing
5     but the truth in the within-entitled cause;
6                That said deposition was taken in shorthand
7     by me, a disinterested person, at the time and place
8     therein stated, and that the testimony of the said
9     witness was thereafter reduced to typewriting, by
10    computer, under my direction and supervision;
11               That before completion of the deposition,
12    review of the transcript [ ] was [x] was not
13    requested.      If requested, any changes made by the
14    deponent (and provided to the reporter) during the
15    period allowed are appended hereto.
16               I further certify that I am not of counsel or
17    attorney for either or any of the parties to the said
18    deposition, nor in any way interested in the event of
19    this cause, and that I am not related to any of the
20    parties thereto.
21    Dated: August 6, 2019
22
23
24   <%6345,Signature%>
25   ANDREA M. IGNACIO, RPR, CRR, CCRR, CLR, CSR No. 9830

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